    Case: 1:16-cv-08637 Document #: 7504 Filed: 02/12/25 Page 1 of 3 PageID #:651702




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                           No. 1:16-cv-08637 TMD
LITIGATION


This Document Relates To:

All Commercial and Institutional Indirect
Purchaser Plaintiff Actions


     COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’
    UNCONTESTED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS
    WITH DEFENDANTS HOUSE OF RAEFORD, KOCH FOODS, MOUNTAIRE, O.K.
    FOODS, SANDERSON FARMS, SIMMONS FOODS, AGRI STATS, CASE FARMS,
     CLAXTON, FOSTER FARMS, PERDUE, AND WAYNE FARMS; APPROVAL OF
    AMENDED HARRISON POULTRY SETTLEMENT; AND APPROVAL OF CIIPPS’
                    SETTLEMENT NOTICE PROGRAM 1


         PLEASE TAKE NOTICE that on a date and time to be determined by the Court, if the

Court determines that a hearing is necessary, the Commercial and Institutional Indirect Purchaser

Plaintiffs (“CIIPPs”) will appear in person or remotely before the Honorable Thomas M. Durkin

in his courtroom 1441 of the Dirksen Federal Building, 219 South Dearborn Street, Chicago,



1
 The “Settling Defendants” include: Harrison Poultry, Inc. (“Harrison Poultry”), House of Raeford Farms,
Inc. (“House of Raeford”); Koch Foods, Inc., JCG Foods of Alabama, LLC., JCG Foods of Georgia, LLC,
and Koch Meat Co., Inc. (collectively “Koch Foods”); Mountaire Farms, LLC and Mountaire Farms of
Delaware, Inc. (collectively “Mountaire”); O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc.
(collectively, “O.K. Foods”); Sanderson Farms, LLC (f/k/a Sanderson Farms, Inc.), Sanderson Farms
Foods, LLC (f/k/a Sanderson Farms, Inc. (Foods Division)), Sanderson Farms Production, LLC (f/k/a
Sanderson Farms, Inc. (Production Division)), and Sanderson Farms Processing, LLC (f/k/a Sanderson
Farms, Inc. (Processing Division)) (collectively “Sanderson Farms”); Simmons Foods, Inc. and Simmons
Prepared Foods, Inc. (collectively “Simmons Foods”); Agri Stats, Inc. (“Agri Stats”); Case Foods, Inc.,
Case Farms, LLC, and Case Farms Processing, Inc. (collectively “Case Foods”); Norman W. Fries, Inc.,
d/b/a Claxton Poultry Farms (“Claxton”); Foster Farms, LLC and Foster Poultry Farms (collectively “Foster
Farms);” Perdue Farms, Inc. and Perdue Foods LLC (collectively “Perdue”); and Wayne Farms, LLC
(“Wayne Farms”).
    Case: 1:16-cv-08637 Document #: 7504 Filed: 02/12/25 Page 2 of 3 PageID #:651703




Illinois, and will then and there present their Uncontested Motion for Preliminary Approval of

Settlements with Defendants House of Raeford, Koch Foods, Mountaire, O.K. Foods, Sanderson

Farms, Simmons Foods, Agri Stats, Case Foods, Claxton, Foster Farms, Perdue, and Wayne

Farms; Approval of Amended Harrison Poultry Settlement; 2 and Approval of CIIPPs Settlement

Notice Program. This motion is based on Federal Rule of Civil Procedure 23, the concurrently

filed Memorandum of Law and supporting declarations and exhibits, and all other evidence and

arguments presented at any hearing on this motion.



Dated: February 12, 2025                       Respectfully Submitted:

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2
 CIIPPs previously reached a settlement with Harrison Poultry, which this Court preliminarily approved
on July 25, 2023. See ECF No. 6694. As discussed in their Memorandum of Law and supporting papers,
CIIPPs and Harrison Poultry have amended their agreement and CIIPPs seek the Court’s approval of the
amendment.
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Case: 1:16-cv-08637 Document #: 7504 Filed: 02/12/25 Page 3 of 3 PageID #:651704




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                                       3
